FILES
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IN THE UNITED STATES DISTRICT COURT '
FOR THE WESTERN DISTRICT OF NORTH CAROLINA —O3 JUL 10. PH 3: 36
Charlotte Division a
US. DiSTRiG: COURT

GINA NICHOLS, W. DIST. OF NC.

ERIN MOLLOZZI, and
JOHN MGLLOZZI,
Plaintiffs

Case No. 3:97-00488=MU
“Het

Vs.

CALIDO CHILE TRADERS SYSTEMS, INC.,

LARRY CHILDERS,

DEE CHILDERS, and

VENTURE DEVELOPMENT CORPORATION,
Defendants.

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STIPULATION OF DISMISSAL WITHOUT PREJUDICE
Pursuant to the provisions of Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure,
the parties hereby stipulate and agree that all of Plaintiffs’ claims are hereby dismissed, without

prejudice. Each party will bear its own costs.

This 10? way of Jyt, 2003.
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Case 3:97-cv-00469-HBM Document 16 Filed 07/10/03 Page 1 of 3

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Case 3:97-cv-00469-HBM Documenti16- Filed 07/10/03 Page 2 of 3

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Case 3:97-cv-00469-HBM Documenti16 - Filed 07/10/03 Page3o

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